
14 N.Y.2d 750 (1964)
The People of the State of New York, Respondent,
v.
Armando Cossentino, Appellant.
Court of Appeals of the State of New York.
Argued April 2, 1964.
Decided May 7, 1964.
Maurice Edelbaum for appellant.
Frank D. O'Connor, District Attorney (Benj. J. Jacobson of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE and BERGAN. Taking no part: Judge SCILEPPI.
On the basis of the preconviction and postconviction psychiatric studies of defendant-appellant made in 1962 and the suggestion by his counsel on the argument of the appeal relating to his present mental condition, decision is withheld until a further psychiatric examination is made of defendant-appellant under the order and direction of the Supreme Court of Queens County and appropriate findings in respect thereof have been made.
